                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

 UNITED STATES OF AMERICA
                                                                 ORDER
 v.                                                            1:19cr00016

 INDIVIOR INC., (a/k/a Reckitt Benckiser
     Pharmaceuticals Inc.), and
 INDIVIOR PLC,
      Defendants

       It is ORDERED that each counsel of record in this case shall, within 48
 hours from the time and date of entry of this Order, review any redacted pleading
 or attachment which has been filed on the public docket in this matter under his or
 her CM/ECF account to determine whether the document contains improperly
 redacted grand jury materials or information. If any such document contains
 improperly redacted grand jury materials or information, counsel shall immediately
 notify the Clerk’s Office so the court may take remedial action. Each counsel of
 record shall, within seven days of the date of entry of this Order, file with the court
 a statement that such review has been conducted and listing the results of such
 review.   In particular, if counsel’s review revealed that any previous filing
 contained improperly redacted grand jury materials or information, counsel should
 include an explanation of how this occurred and what, if any, steps have been
 taken to ensure that it will not occur again.
       The Clerk shall provide a copy of this Order by email to all counsel of
 record.
       ENTERED: September 12, 2019.
                                         /s/ Pamela Meade Sargent
                                         UNITED STATES MAGISTRATE JUDGE

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